                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                   Civil Action No. 3:22-cv-630-MOC-DSC

 SARA BETH WILLIAMS, BRUCE            )
 KANE, JASON YEPKO, GUN               )
 OWNERS OF AMERICA, INC,              )
 GUN OWNERS FOUNDATION,               )
 GRASS ROOTS NORTH                    )
 CAROLINA, and RIGHTS WATCH           )
 INTERNATIONAL,                       )
                                      )
                  Plaintiffs,         )
                                      )
v.                                    )
                                      )
SHERIFF GARRY MCFADDEN, in            )
his official capacity as Sheriff of   )
Mecklenburg County, and the           )
MECKLENBURG COUNTY                    )
SHERIFF’S OFFICE                      )
                                      )
                  Defendants.         )


EXHIBIT 1        DECLARATION OF TAMARA RHODE
                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                    Civil Action No. 3:22-cv-630-MOC-DSC

 SARA BETH WILLIAMS, BRUCE
 KANE, JASON YEPKO, GUN     )
 OWNERS OF AMERICA, INC.            )


 GUN OWNERS FOUNDATION,
 GRASS ROOTS NORTH          )
 CAROLINA, and RIGHTS WATCH
 INTERNATIONAL,             )
                            )
                Plaintiffs. ) )
                                                   DECLARATION OF
                                                   TAMARA RHODE
 V.


 SHERIFF GARRY MCFADDEN, in )
 his official capacity as Sheriff of )
 Mecklenburg County, and the
 MECKLENBURG COUNTY                  )
 SHERIFF’S OFFICE                    )

                      Defendants.       )


Tamara L. Rhode, duly sworn, deposes, and states under oath the following:


1)     I am an employee of the Mecklenburg County Sheriffs Office (MCSO) and
       have been so since in or about May of 2000. Since on or about August of
       2006,1 have served MCSO in the capacity of Permits and Registration
       Services Manager. My current duties and responsibilities include
       supervising the processing of applications submitted to MCSO by residents


WBD (US) 60179015vl
       of Mecklenburg County seeking handgun purchase permits and permits to
       carry a concealed handgun.

2)     Individuals seeking a concealed handgun permit (“CHP”) from MCSO
       complete the application on-line. This application was created by the State
       Bureau of Investigations. A copy of a blank application is attached as
       Exhibit 1A to this Declaration. The application asks the applicant’s military
       status.

3)     The application also includes a North Carolina Administrative Office of the
       Courts Form SP 914, by which the applicant authorizes doctors, hospital, or
       other providers to release records to MCSO concerning the applicant’s
       physical capacity, mental health, mental capacity, or substance abuse. A
       copy of this form is attached as Exhibit IB to this Declaration. Form SP 914
       also authorizes the Clerk of Court’s Office to advise MCSO whether or not
       the Clerk’s Office has any records containing an applicant’s involuntary
       commitment under N.C.G.S. § 122C.

4)     To ensure that an applicant is not prohibited from obtaining a concealed
       handgun permit, MCSO also checks each applicant’s name and date of birth
       in multiple databases including the Division of Criminal Information,
       Division of Motor Vehicles, and Federal Bureau of Investigations- National
       Instant Criminal Background Check System (“NICS”).

5)     In addition to the criminal history of the applicant, NICS indicates if an
       applicant has been adjudicated to be mentally ill but does not provide
       information about whether an applicant has received mental health treatment
       without any adjudication.

6)     Once MCSO has received from a CHP applicant all items required under
       N.C.G.S. § 14-415.13(a), MCSO sends Form SP 914 to the mental health
       providers listed in paragraph 7, to ensure that MCSO will have the most
       current records provided pursuant to Form SP 914.

7)     MCSO sends Form SP 914 to the following mental health providers:
       Broughton Hospital, Novant Health, Veterans Affairs, Watkins Center,
       Behavioral Health Charlotte/ Willows, Amethyst/ Mercy IOP/ Cedar
       Springs, and BH- Davidson in order to determine whether the applicant
WBD(US) 60179015v1
       suffers from a physical or mental infirmity that prevents the safe handling of
       a handgun.

8)     MCSO sends Form SP 914 to the above providers because MCSO’s belief is
       that the majority of people in Mecklenburg County who seek mental health
       treatment do so through one of these providers.

9)     MCSO has found that applicants sometimes answer questions in their
       application, including about military service, incorrectly. In fact, as recently
       as November 2022, MCSO determined that an applicant who stated that he
       did not serve in the military actually did and was in fact discharged from the
       military due to mental health concerns. A review of the applicant’s mental
       health records also revealed that the applicant made threats to Veterans
       Affairs personnel, and his application was denied because he suffered from a
       physical or mental infirmity that prevented the safe handling of a handgun.

10)    It often takes mental health providers several months to comply with Form
       SP 914. Pursuant to N.C.G.S. §14-415.15(a), the Sheriffs 45 days within
       which to issue or deny a CHP begins to run only upon receipt of all
       requested mental health records.

H)     Every CHP application decision is double-checked. In the event of a
       disagreement between the two reviewers, a supervisor makes the final
       determination. A Sheriffs Office attorney may also be consulted on the
       final decision.

12)    MCSO is required to make its decision on CHP applications within 45 days
       of receipt of all items required from the applicant, as well as the mental
       health records. If an application is denied, the applicant is notified by email.
       If an application is approved, MCSO electronically notifies the North
       Carolina State Bureau of Investigations (“SBI”), which then prints the
       permits on a weekly basis and mails them to MCSO. Upon receipt of a
       permit from the SBI, MCSO notifies the applicant and mails the permit to
       the applicant.

13)    I have reviewed MCSO’s records which are kept in the ordinary course of
       business for the CHP applications of Sara Beth Williams, Bruce Kane, and
       Jason Yepko.

WBD (US) 60179015vl
14)    Ms. Williams’ permit was approved by MCSO on November 18, 2022.
       Upon receipt of Ms. Williams’ permit from the SBI on December 5, 2022,
       she was notified by email and phone that her application was approved.

15)    Mr. Kane’s permit was approved by MCSO on January 6, 2023. MCSO has
       notified the SBI that Mr. Kane’s permit has been approved. Once the SBI
       prints his permit, MCSO will notify Mr. Kane by email and phone that his
       application was approved.

16)    Mr. Yepko’s permit was approved by MCSO on November 16, 2022. Upon
       receipt of Mr. Yepko’s permit from the SBI on December 5, 2022, he was
       notified by email and phone that his application was approved.

I declare under penalty of perjury that the foregoing is true and correct.



Dated: January 10, 2023.



                                 TAMARA L. RHODE




WBD(US) 60179015vI
